578 F.2d 659
    SOUTHLAND ROYALTY COMPANY et al., Texaco, Inc., ExxonCorporation, and Mobil Oil Corporation, Petitioners,v.FEDERAL ENERGY REGULATORY COMMISSION, Respondent.
    Nos. 75-3373, 75-2851, 75-3682, 75-3819 and 75-4001.
    United States Court of Appeals,Fifth Circuit.
    Aug. 17, 1978.
    
      J. Evans Attwell, Henry S. May, Jr., Houston, Tex., for petitioner in No. 75-3373.
      J. Evans Attwell, P. M. Schenkkan, Travis C. Broesche, Houston, Tex., Ernest E. Smith, III, Austin, Tex., Platt W. Davis, III, Washington, D. C., for Southland Royalty Co.
      Kirk W. Weinert, Roger L. Brandt, C. Fielding Early, Jr., Houston, Tex., for Texaco, Inc.
      Sherman S. Poland, Bernard A. Foster, III, Martin N. Erck, Douglas E. Mock, Houston, Tex., for Exxon Corp.
      Robert D. Haworth, Houston, Tex., for Mobil Oil.
      C. Frank Reifsnyder, Washington, D. C., Richard S. Morris, Asst. Gen. Counsel, Harris S. Wood, Atty., El Paso, Tex., G. Scott Cuming, Gen. Counsel, Houston, Tex., for El Paso Natural Gas Co.
      Randolph W. Deutsch, J. Calvin Simpson, Richard D. Gravelle, San Francisco, Cal., for People &amp; Public Utilities Comm. of State of Cal.
    
    
      1
      Jeffrey A. Meith, Los Angeles, Cal., for Southern California Gas Co.
    
    
      2
      Malcolm H. Furbush, San Francisco, Cal., Harris S. Wood, El Paso, Tex., for Pacific Gas &amp; Elec. Co.
    
    
      3
      John Davenport, Austin, Tex., for Texas Independent Producers, etc.
    
    
      4
      Thomas W. Derryberry, Asst. Atty. Gen., William O. Jordan, Santa Fe, N. M., for State of N. M.
    
    
      5
      William P. Pannill, F. H. Pannill, Houston, Tex., for Crane City Development Co.
    
    
      6
      J. Milton Richardson, Asst. Atty. Gen., Austin, Tex., amicus curiae, for State of Tex.
    
    
      7
      James E. Williams, Lake Charles, La., amicus curiae, for Commissioner of Conservation of La., etc.
    
    
      8
      Paul E. DeGraffenreid, Atty., Commissioners of the Land Office, State of Okl., Oklahoma City, Okl., amicus curiae, for State of Okl. ex rel. Comm. of the Land Office.
    
    
      9
      Robert W. Perdue, Deputy Gen. Counsel, Steven A. Taube, Douglas L. Corbett, Attys., Drexel D. Journey, Gen. Counsel, Allan A. Tuttle, Howard E. Shapiro, Sols., F. P. C., Washington, D. C., for respondent.
    
    
      10
      Martin N. Erck, Paul W. Wright, Houston, Tex., Sherman S. Poland, Bernard A. Foster, Jr., Ralph C. Oser, Washington, D. C., for petitioner in No. 75-3819.
    
    
      11
      On Remand from the Supreme Court of the United States.
    
    
      12
      Before CLARK, RONEY, and TJOFLAT, Circuit Judges.
    
    PER CURIAM:
    
      13
      Pursuant to the mandate of the Supreme Court of the United States in California et al. v. Southland Royalty Company et al., 1978, --- U.S. ----, 98 S.Ct. 1955, 56 L.Ed.2d 505, the opinion of this court dated December 13, 1976, in Southland Royalty Company v. Federal Power Commission, 543 F.2d 1134 (1976), is VACATED and the decision of the Federal Power Commission here on review is
    
    
      14
      AFFIRMED.
    
    